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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

SHANNON PEREZ, ET AL.,                           §
                                                 §
        Plaintiffs,                              §
                                                 §
v.                                               §    Civil Action No. SA-11-CV-360
                                                 §
GREG ABBOTT, ET AL.,                             §
                                                 §
        Defendants.                              §


                                            ORDER

        On July 3, the Court directed the parties to file advisories stating whether there is

agreement on a remedy for HD90 and, if not, what the nature of the disagreement is. The

Court also directed the parties to advise the Court as to what, if any, other issues remain in this

case.

                                              HD90

        The Court has considered the Advisories filed by the Task Force and the State

Defendants concerning HD90. The Task Force suggests Plan H407, which utilizes the lines

implemented by the Legislature in Plan H283 in 2011. The State Defendants contend that no

remedy is needed but that, if a remedy is implemented, it should not utilize the Plan H283

lines but should remedy only those specific lines found to be subject to unconstitutional racial

gerrymandering in 2013 (i.e., changes made between Plan H328 and Plan H342).

        The Court finds that a remedy for the 2020 elections is required for the

unconstitutional racial gerrymandering in HD90 found by this Court in Plan H358 and

affirmed by the Supreme Court. See Reynolds v. Sims, 377 U.S. 533, 585 (1964) (“[O]nce a
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State’s legislative apportionment scheme has been found to be unconstitutional, it would be

the unusual case in which a court would be justified in not taking appropriate action to insure

that no further elections are conducted under the invalid plan.”). The Court disagrees with the

proposal set forth by the Task Force Plaintiffs because the proposed remedy exceeds the scope

of the violation found by the Court. This Court must respect the legislative choices made in

2013, except to remedy the constitutional violations. See Whitcomb v. Chavis, 403 U.S. 124,

160-61 (1971); see also North Carolina v. Covington, 138 S. Ct. 2548, 2554 (2018) (“The

only injuries the plaintiffs established in this case were that they had been placed in their

legislative districts on the basis of race. The District Court’s remedial authority was

accordingly limited to ensuring that the plaintiffs were relieved of the burden of voting in

racially gerrymandered legislative districts.”).

       However, legislative apportionment is primarily a matter for legislative consideration

and determination, and judicial relief becomes appropriate only when a legislature fails to

reapportion according to federal constitutional requisites in a timely fashion after having had

an adequate opportunity to do so. Reynolds, 377 U.S. at 586. Thus, before this Court

undertakes the “unwelcome obligation” of fashioning a remedial plan, the Court must afford

the Legislature an opportunity to reapportion during either a 2018 special session or the 2019

regular legislative session. However, to avoid interference with the 2020 election cycle, if no

action is taken to introduce a redistricting bill within the first 45 days of the 2019 regular

session, or if it otherwise is made apparent that no redistricting legislation will be considered

during the session, the Court will proceed with a remedial phase. The parties should be




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prepared to submit proposals in accordance with the principles stated above no later than the

46th day of the 2019 regular session.

                                           3(c) Relief

       Numerous Plaintiffs have indicated that they are continuing to seek relief under

Section 3(c) of the Voting Rights Act and ask the Court to set a briefing schedule. Plaintiffs’

briefs on the issue of 3(c) relief shall be due no later than November 30, 2018. Defendants’

responsive briefing shall be due January 15, 2019. Replies shall be due within fourteen days

of the filing of the response.

                                         Attorneys’ Fees

       Motions for attorneys’ fees shall be filed and considered pursuant to Local Rule 7 after

final judgment is entered (including Quesada Plaintiff’s Motion for Discovery-Related

Attorneys’ Fees (docket no. 1539)).

       Nothing in this order should be read to indicate that the panel has formed a view on

which issues legitimately remain for resolution or on the merits of any remaining issue.

       SIGNED this 30th day of August, 2018 on behalf of the Three-Judge Panel.




                                        XAVIER RODRIGUEZ
                                        UNITED STATES DISTRICT JUDGE




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